        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 1 of 23                        FILED
                                                                                    2020 Nov-04 PM 12:40
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA,
                        SOUTHERN DIVISION

ROGER WEBB,                            )
                                       )
      Plaintiff                        )
                                       )
v.                                     ) CASE NO:____________________
                                       )
LIFE INSURANCE COMPANY                 )
OF NORTH AMERICA,                      )
                                       )
      Defendant.                       )

                                  COMPLAINT

      Comes now the Plaintiff, Roger Webb, and hereby files his Complaint against

Life Insurance Company of North America.

                                     PARTIES

      1.     The Plaintiff, Roger Webb (“Mr. Webb”), is an insured under Group

Long Term Disability Plan for employees of Consolidated Nuclear Security

identified as Group Insurance Policy LK-0980261 (“the Plan”), who has been

improperly denied disability benefits under the Plan.

      2.     Defendant, Life Insurance Company of North America (“LINA”), is the

Administrator of the Plan. Upon information and belief, LINA is a foreign

corporation incorporated in the Commonwealth of Pennsylvania, which conducts

business generally in the State of Alabama and specifically within this District.


                                          1
         Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 2 of 23




                             JURISDICTION AND VENUE

       3.    This action arises under the Employee Retirement Income Security Act

of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. Plaintiff asserts claims for long term

disability (“LTD”) benefits, enforcement of ERISA rights and statutory violations

of ERISA under 29 U.S.C. § 1132, specifically, Mr. Webb brings this action to

recover benefits due to him pursuant to 29 U.S.C. §1132(a)(1)(B) and to enforce his

rights under the Plan pursuant to 29 U.S.C. §1132(a)(3).      This Court has subject

matter jurisdiction under ERISA without respect to the amount in controversy or the

citizenship of the parties. 29 U.S.C. §§ 1132(a), (e)(1) and (f) and 28 U.S.C. § 1131.

Venue is proper in this district pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. §

1391(b).

                                    INTRODUCTION

       4.    The Plaintiff in this case was subjected to improper claim handling

procedures by LINA as it exploited the shortcomings of ERISA as it relates to claims

for “welfare” benefits to avoid paying Mr. Webb’s valid claim for disability benefits.

The traditionally held purpose of the ERISA statute is “to promote the interest of

employees and their beneficiaries in employee benefit plans.” Shaw v. Delta Airlines,

Inc., 463 U.S. 85, 90 (1983). Mr. Webb, as an employee insured for disability, was

supposed to be treated as a beneficiary by LINA as a statutory fiduciary. Instead,

LINA has breached those duties and victimized Mr. Webb by engaging in improper


                                          2
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 3 of 23




claim handling procedures. As described in more detail below, LINA has clearly

engaged in bad faith claim handling and Mr. Webb, at minimum, is entitled to de

novo review and all relief that ERISA provides.

                                STATEMENT OF FACTS

       5.    Mr. Webb is an insured for benefits under the Plan. LINA is the

administrator of the Plan. The Plan provides insureds, like Mr. Webb, LTD benefits

and was in full force and effect at all times relevant to this Complaint.

       6.    At all relevant times, Mr. Webb was employed by Consolidated

Nuclear Security and was a covered participant in the Plan, as defined in 29 U.S.C.

§ 1002(7) and under the terms and conditions of the Plan.

       7.    Mr. Webb, a man sixty (60) years of age, worked at Consolidated

Nuclear Security until his disabilities forced him to stop working on or about

November 10, 2016.

       8.    Mr. Webb was employed by Consolidated Nuclear Security as an Iron

Worker Rigger, whose job duties required moving extremely heavy equipment and

construction materials; setting up rigs, hoisting structures, or equipment; using heavy

machinery to lift heavy loads; loading and properly securing objects on transport

equipment; fabricating, erecting, and assembling structural steel; and working with

mobile and fixed cranes. This entailed “strenuous physical exertion and activities

associated with material or equipment movement,” and required skills such as


                                           3
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 4 of 23




computation, analyzation, communication, comprehension, verbal and visual

memory, working memory, attention and concentration, and leadership.

Environmental requirements included exposure to confined spaces and Beryllium

necessitating the use of a respirator.

      9.     Mr. Webb’s medical disabilities include rotator cuff tear, chronic

bilateral shoulder pain, posttraumatic stress disorder, anxiety, depression, panic

attacks, history of heat stroke with residual chronic headaches, Beryllium exposure,

multiple lung nodules, and obstructive sleep apnea. The symptoms of his

impairments and the side effects of the medications and treatment prescribed render

Mr. Webb unable to perform any job.

      10.    Dr. Ron Brown provided a Behavioral Health Provider’s Statement of

Work Capacity and Impairment on December 1, 2016 which noted diagnoses of

posttraumatic stress disorder, generalized anxiety, and major depressive disorder.

Dr. Brown noted that he considered Mr. Webb to be totally impaired.

      11.    On January 5, 2017, Dr. Hurst completed a Behavioral Health

Clinician’s Statement in which he noted that, due to anxiety and panic attacks, he

anticipated permanent work restrictions.

      12.    To address his right shoulder rotator cuff tears and degenerative labral

tears, Mr. Webb underwent arthroscopic subacromial decompression and extensive

debridement of these tears on March 27, 2017.


                                           4
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 5 of 23




      13.    Mr. Webb was approved for and began receiving LTD benefits from

LINA as of May 17, 2017.

      14.    Mr. Webb received continuous LTD benefits from May 17, 2017

through September 18, 2018, totaling sixteen (16) months of continuous benefits.

      15.    Mr. Webb’s LTD benefits were approved and paid from May 17, 2017

through September 18, 2018 because LINA determined that he was unable to

perform the material duties of his regular occupation, as defined under the Plan.

      16.    By letter dated September 18, 2018, LINA wrongfully terminated Mr.

Webb’s LTD benefits.

      17.    The Plan at issue, as governed by ERISA and relied upon to deny Mr.

Webb’s LTD benefits states, in part:

             The Employee is considered Disabled if, solely because of Injury or

             Sickness, he or she is:

             1. unable to perform the material duties of his or her Regular

                Occupation; and

             2. unable to earn 80% or more of his or her Indexed Earnings from

                working in his or her Regular Occupation.

             After Disability Benefits have been payable for 24 months, the

             Employee is considered Disabled if, solely due to Injury or Sickness,


                                         5
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 6 of 23




             he or she is:

             1. unable to perform the material duties of any occupation for which

                he or she is, or may reasonably become, qualified based on

                education, training, or experience; and

             2. unable to earn 60% or more of his or her Indexed Earnings.

      18.    Using this test of disability, LINA found Mr. Webb disabled and

approved his LTD benefits for sixteen (16) months as Mr. Webb’s chronic shoulder

pain, posttraumatic stress disorder, anxiety disorder, and panic attacks prevented him

from performing the essential duties of his occupation.

      19.    In coming to the decision to terminate Mr. Webb’s benefits, LINA

relied upon paid reviewers to consider Mr. Webb’s medical records and whether Mr.

Webb continued to meet the Plan’s definition of disability.

      20.    At all relevant times, and prior to the denial of Mr. Webb’s benefits, he

was under the consistent care of his primary care physician, Dr. James Hurst (“Dr.

Hurst”); his psychiatrist, Dr. Dawit Zemichael (“Dr. Zemichael”); and his

orthopedist, Dr. George Baddour (“Dr. Baddour”).

      21.    On February 1, 2018, Mr. Webb underwent arthroscopic debridement

and manipulation under anesthesia of the left shoulder.

      22.    On June 5, 2018, Dr. Zemichael provided a Medical Source Statement

to LINA which noted Mr. Webb’s diagnoses of generalized anxiety disorder and

                                          6
         Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 7 of 23




posttraumatic stress disorder. Dr. Zemichael expounded that the claimant had serious

limitations in several areas, including understanding and remembering even short

and simple instructions, maintaining attention, performing at a consistent pace,

working with others, and completing a normal workday and workweek, and noted

that his symptoms would cause him to be absent from work more than four days per

month.

      23.    In a Physical Medical Source Statement dated June 15, 2018, Dr.

Baddour noted that Mr. Webb’s rotator cuff tears, bilateral shoulder pain, and history

of bilateral shoulder surgeries caused chronic pain and diminished range of motion

of the upper arms and shoulders and would cause Mr. Webb to be off task 25% or

more of a typical workday.

      24.    Dr. Baddour completed a Medical Request Form on July 31, 2018 and

noted a primary diagnosis of adhesive capsulitis of the left shoulder as well as a

history of left and right shoulder pain and surgeries. Further, Dr. Baddour asserted

that Mr. Webb was unable to return to work even should accommodations be made.

      25.    A Medical Request Form from Dr. Hurst on August 23, 2018 also noted

that Mr. Webb was incapable of returning to work with accommodations due to his

posttraumatic stress disorder, panic attacks, lung nodules secondary to Beryllium

exposure, and stage III chronic kidney disease.




                                          7
          Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 8 of 23




         26.   In spite of the reports from Mr. Webb’s treating physicians, LINA and

its paid reviewers erroneously concluded that there was not “a significant functional

impairment that would preclude full time work in your regular occupation,” which

entailed Medium work and included the ability to exert twenty to fifty pounds of

force.

         27.   Neither LINA nor its paid reviewers considered Mr. Webb’s non-

exertional limitations, such as medication side effects, which prohibit him from

holding full time employment.

         28.   By and through counsel in a letter dated March 14, 2019, Mr. Webb

appealed the termination of his LTD benefits. Mr. Webb included with his appeal

letter a fully favorable Social Security Disability decision, as well as additional

medical records outlining the decline of his condition and personal declarations from

several friends and family members.

         29.   On January 29, 2019, Mr. Webb was informed by the Social Security

Administration that he was deemed totally disabled as of November 1, 2016 forward.

         30.   The Administrative Law Judge presiding over Mr. Webb’s Social

Security Disability claim determined that Mr. Webb’s severe impairments included

major joints dysfunction, anxiety and obsessive-compulsive disorders, and trauma-

and stressor-related disorders, which precluded Medium work and restricted the

performance of Sedentary work. The Administrative Law Judge further concluded


                                          8
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 9 of 23




that Mr. Webb experienced limitations in four areas of mental functioning, while

state agency psychological consultants determined that although Mr. Webb appeared

stable, he “still has severe medically determinable mental impairments.”

      31.     Mr. Webb was awarded Social Security Disability benefits because the

Administrative Law Judge found Mr. Webb to be permanently disabled.

      32.     Mr. Webb initially applied for Social Security Disability benefits as, in

accordance with the Plan, LINA required Mr. Webb to apply for Social Security

Disability.

      33.     In support of Mr. Webb’s appeal, his wife, Diana L. Webb, submitted

a declaration, pursuant to 28 U.S.C. § 1746, through which she outlined the effects

of Mr. Webb’s disabling condition on his activities of daily living and his ability to

return to work. Under penalty of perjury, Mrs. Webb noted a history of outdoor

activities, travel, and social time which ceased due to Mr. Webb’s deteriorating

health. Mrs. Webb noted regular occurrences of severe anxiety and panic attacks

which left Mr. Webb largely incapable of being in public or even leaving the house.

      34.     Mr. Webb’s sister, Debra Mitchell, and friends Mike Alley and Roger

Eslinger provided declarations as well, pursuant to 28 U.S.C. § 1746. In these

declarations, these three noted Mr. Webb’s prior state to be active and social while

his current state was described as one of social isolation, intense anxiety, and

debilitating panic when faced with public places or restricted spaces.


                                           9
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 10 of 23




      35.    On May 1, 2019, by and through counsel, Mr. Webb provided updated

medical records from Dr.       Hurst. These records documented treatment from

November 26, 2018 to February 20, 2019 for posttraumatic stress disorder, anxiety

disorder, classical migraine, and hyperlipidemia.

      36.    Despite providing proof of his disability both before the termination of

benefits and throughout the appeals process, LINA refused to award Mr. Webb’s

LTD benefits and issued a second denial letter dated May 30, 2019.

      37.    In its termination letter dated May 30, 2019, LINA relied on the

opinions of paid medical reviewers Dr. Michael Chen (“Dr. Chen”), Dr. Mahdy

Flores (“Dr. Flores”), and Dr. Warren Taff (“Dr. Taff”).

      38.    Dr. Chen, whom has never seen nor treated Mr. Webb, asserted that

“adequate time has elapsed since both [shoulder] surgeries for functional tissue

healing and rehabilitation to permit unrestricted activity, and no complications that

would prolong recovery have been documented.”

      39.    Dr. Chen spoke with Dr. Baddour on May 16, 2019 and was informed

by this physician that Mr. Webb had limited range of motion of the bilateral

shoulders and was able to push and pull five (5) pounds and to lift and carry only

five (5) pounds at desk or ground level and nothing overhead.

      40.    After speaking with Dr. Baddour, Dr. Chen disregarded the assigned

restrictions and limitations issued by Mr. Webb’s treating orthopedist and instead


                                         10
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 11 of 23




stated that this treating provider’s opinion was not well supported by the claim file.

      41.    Although Dr. Baddour assigned restrictions and limitations which

would preclude Mr. Webb from even Sedentary work activity, Dr. Chen asserted

that Mr. Webb required no activity restrictions at all.

      42.    Dr. Flores, whom has never seen nor treated Mr. Webb, rendered an

opinion that Mr. Webb was unrestricted by his anxiety, depression, posttraumatic

stress disorder, frozen shoulder, or chronic kidney disease, in spite of contradictory

statements by Mr. Webb’s own treating physicians.

      43.    While Dr. Flores noted Mr. Webb’s behavioral health progress notes to

be “stable” and likened this stability to a symptom-free presentation, Mr. Webb’s

favorable January 29, 2019 Social Security Disability ruling recognized that

“subsequent medical evidence of record establishes that the claimant is stable, but

still has severe medically determinable mental impairments” and that restrictions

were “supportable by and consistent with the longitudinal medical evidence of

record.”

      44.    Although Mr. Webb expressed several times in the medical file

financial constraints and insurance problems which hindered his ability to obtain

treatment, Dr. Taff, whom has never seen nor treated Mr. Webb, determined that

limitations secondary to generalized anxiety disorder, depression, and posttraumatic




                                          11
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 12 of 23




stress disorder were unwarranted as Mr. Webb’s psychiatric treatment was not of a

frequency or intensity consistent with severe and unremitting psychopathy.

      45.       On May 23, 2019, Dr. Taff contacted Dr. Zemichael, who reported that

Mr. Webb experienced constant fearfulness, flashbacks, and panic reactions when in

closed spaces or uncomfortable situations. Due to these symptoms, Dr. Zemichael

recommended working from home, which was a “safe environment.”

      46.       Dr. Taff dismissed Dr. Zemichael’s medical opinion by proclaiming

that functional limitations were not entirely supported by the medical file.

      47.       In upholding its denial of LTD benefits, LINA appeared to place

disproportionate value on the record reviews by its paid reviewers over years of

discussion and treatment with Mr. Webb by his actual treating physicians.

      48.       Dr. Chen’s, Dr. Flores’, and Dr. Taff’s opinions, as reflected in the

termination letter dated May 30, 2019, failed to consider significant non-exertional

and environmental restrictions, such as the side effects of his prescribed medications

or the exposure to confined spaces required by Mr. Webb’s regular occupation.

      49.       On November 25, 2019, by and through counsel, Mr. Webb appealed

the termination of his LTD benefits. Mr. Webb included with his appeal letter

additional medical records which documented the deterioration of his physical and

mental state.




                                           12
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 13 of 23




      50.    Dr. Hurst provided a statement on October 22, 2019 which noted Mr.

Webb’s history of anxiety, posttraumatic stress disorder, and panic attacks which

“unfortunately… have occurred with frequency and duration to impact his day-to-

day functioning.” Dr. Hurst also noted a prior episode of heat stroke with residual

headaches and reported on Mr. Webb’s approval for Social Security Disability

benefits based on his inability to perform a full range of Sedentary work activities,

stating that “because of these findings, I wholeheartedly support his permanent

disability and do not think he can any long[er] attain meaningful employment.”

      51.    Despite the support of his treating physicians and medical evidence

showing ongoing disability before the initial termination of benefits and throughout

the appeals process, LINA again denied Mr. Webb’s LTD benefits and issued its

final termination letter dated February 21, 2020.

      52.    In its final termination letter dated February 21, 2020, LINA relied on

the opinions of two paid medical reviewers board certified in psychiatry and

occupational medicine.

      53.    LINA’s paid medical reviewer board certified in psychiatry determined

that Mr. Webb did not experience psychiatric or cognitive impairment which would

preclude occupational functioning, although both Mr. Webb’s primary care

physician and psychiatrist disagreed with this paid opinion.

      54.    LINA’s paid medical reviewer board certified in occupational medicine


                                         13
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 14 of 23




noted that “adequate time [has elapsed] for surgical healing and functional

recovery,” despite Dr. Baddour’s repeated assertions that Mr. Webb experienced

residual chronic pain and loss of range of motion of the bilateral shoulders making

him unable to carry out even Sedentary work.

      55.    At the time LINA terminated Mr. Webb’s LTD benefits on September

18, 2018, and throughout the appeals process, LINA had no information, from its

paid reviewers’ reports or otherwise, that showed Mr. Webb’s medical conditions

had improved, when in fact, Mr. Webb’s treating physicians opined that his

condition continued to deteriorate.

      56.    At all relevant times of LINA’s review of Mr. Webb’s claim, LINA had

the contractual right to obtain better evidence of Mr. Webb’s disability by ordering

an independent medical examination.

      57.    Rather than ordering Mr. Webb to sit for an independent medical

examination, LINA relied on paid record reviews to support its denial of LTD

benefits that had been paid for sixteen (16) months.

      58.    LINA did not allow Mr. Webb an opportunity to review and respond to

its paid reviewers’ reports before its final denial was issued, as Mr. Webb was only

informed of their involvement and LINA’s reliance upon their opinion in the letter

terminating benefits dated February 21, 2020. Rather than providing Mr. Webb an




                                         14
          Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 15 of 23




opportunity to respond, LINA informed Mr. Webb that he could bring a legal action

for benefits.

      59.       As of this date, Mr. Webb has met and continues to meet the Plan’s

definition of disabled.

      60.       Mr. Webb has exhausted any applicable administrative review

procedures and his claim is ripe for judicial review pursuant to 29 U.S.C. § 1132.

      61.       LINA’s refusal to pay benefits has caused tremendous financial

hardship on Mr. Webb.

                                 STANDARD OF REVIEW

      62.       A denial of benefits challenged under 29 U.S.C. § 1132(a)(1)(B) is to

be reviewed under a de novo standard unless the benefit Plan gives the administrator

or fiduciary discretionary authority to determine eligibility for benefits or to construe

the terms of the Plan.

      63.       When discretionary authority is clearly granted and the insurer of an

ERISA plan also acts as a claims administrator, there is a structural or inherent

conflict of interest that mandates a heightened arbitrary and capricious standard of

review.

      64.       Upon information and belief, the Plan does not grant discretionary

authority to determine eligibility for benefits to LINA or to any other entity who may




                                           15
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 16 of 23




have adjudicated Mr. Webb’s claim. Therefore, the Court should review Mr. Webb’s

claim for benefits under a de novo standard.

      65.      Upon information and belief, LINA evaluated and paid all claims under

the LTD Plan at issue, creating an inherent conflict of interest.

      66.      LINA also failed to comply with the letter of the claims procedures

outlined in ERISA and therefore Mr. Webb’s claim for benefits should be reviewed

by this Court under a de novo standard.

      67.      In the alternative, if the Court finds that LINA is entitled to the

heightened arbitrary and capricious standard of review, the termination of Plaintiff’s

benefits constitutes a clear abuse of discretion as LINA’s decision to deny Mr.

Webb’s LTD benefits was arbitrary and capricious.

        DEFENDANT’S WRONGFUL AND UNREASONABLE CONDUCT

      68.      LINA has wrongfully denied LTD benefits to Mr. Webb, in violation

of the policy provisions and ERISA, for the following reasons:

            (a) Mr. Webb is totally disabled, in that he is prevented from performing

               the essential duties of his regular occupation;

            (b) Mr. Webb is entitled to disability benefits under the terms of the Plan,

               as he meets the Plan’s definition of disability and he has otherwise met

               the conditions precedent of the Plan for coverage and entitlement to

               benefits;


                                            16
Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 17 of 23




 (c) LINA failed to accord proper weight to the evidence in the

    administrative record showing that Mr. Webb is totally disabled;

 (d) LINA’s interpretation of the definition of disability contained in the

    Plan is contrary to plain language of the Plan, unreasonable, arbitrary,

    capricious, and otherwise violated the standards required by ERISA;

 (e) LINA failed to allow Mr. Webb a right to access information upon

    which it relied to make a final determination, and failed to allow Mr.

    Webb an opportunity to respond to said information, before it made a

    final determination on his claim for LTD benefits;

 (f) LINA failed to obtain and consider relevant information pertaining to

    Mr. Webb’s disability before it made a final determination on his claim

    for LTD benefits;

 (g) LINA wrongfully denied Mr. Webb a full, fair and impartial review of

    his benefits claim pursuant to 29 C.F.R § 2560.503-1(h)(1), by ignoring

    the overwhelming weight of and credibility of evidence submitted and

    instead behaved as an adversary, looking instead for less credible

    evidence of marginal significance to support its goal of denying his

    benefits claim;

 (h) LINA failed to give proper weight to Mr. Webb’s own accounts

    regarding the debilitating effects of his pain;


                                 17
Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 18 of 23




 (i) LINA ignored the records and opinions of Mr. Webb’s treating

    physicians which show that Mr. Webb is totally disabled, and instead

    based its decision to deny benefits on its internal review by LINA staff

    members and its paid reviewers, who had never seen or treated Mr.

    Webb, some of which never spoke with his treating physicians about

    the nature of his disability, and who were not as qualified as Mr.

    Webb’s treating physicians to formulate opinions regarding the nature

    and extent of his disability;

 (j) LINA failed to exercise reasonable flexibility in its claims review

    process to assure Mr. Webb a full, fair review, well-reasoned, and

    principled in his claim;

 (k) LINA administered Mr. Webb’s claim for LTD benefits while acting

    under an inherent and substantial conflict of interest in that LINA

    served both as fiduciary of and funding source for the Plan, and placed

    its own pecuniary interests above Mr. Webb’s interests in wrongfully

    terminating his LTD benefits and failing to administer the Plan as an

    impartial decision maker, free of such conflict of interest, would;

 (l) LINA made erroneous interpretations of some evidence in violation of

    its obligation to discharge its duties with care, prudence, skill, and

    diligence;


                                    18
Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 19 of 23




 (m)      Lina acted in bad faith by denying Mr. Webb’s claim based upon

    the inability of LINA’s paid reviewers to find Mr. Webb disabled, and

    otherwise failed to administer the Plan honestly, fairly and in good

    faith, and to at all times act in Mr. Webb’s best interests;

 (n) LINA terminated Mr. Webb’s benefits without the support of any new

    information that altered in some significant way the previous decision

    over sixteen (16) months to pay LTD benefits to Mr. Webb;

 (o) LINA terminated Mr. Webb’s benefits without the support of any new

    information that showed improvement in Mr. Webb’s medical

    condition, when in fact, his treating physicians opined that his condition

    continued to deteriorate;

 (p) LINA failed to support the termination of benefits with substantial

    evidence;

 (q) LINA imposed a standard not required by the Plan’s provisions, by

    requiring objective evidence of Mr. Webb’s subjective medical

    conditions where such evidence cannot be reasonably provided;

 (r) LINA denied Mr. Webb’s claim for a lack of objective medical

    evidence when Mr. Webb has provided ample subjective evidence of a

    disability and LINA has neither identified any objective evidence that

    Mr. Webb could have supplied to support the claim and has not had Mr.


                                 19
Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 20 of 23




    Webb undergo an independent medical examination or a similar in-

    person probative procedure to test the validity of his complaints;

 (s) LINA failed to consider Mr. Webb’s non-exertional limitations caused

    by his disability, such as the side effects of his prescribed medication,

    his ability to regularly attend work, and the effect his disability has on

    his concentration, persistence, and pace when performing the material

    duties of his occupation;

 (t) LINA’s termination of Mr. Webb’s LTD benefits failed to provide a

    detailed explanation and the basis of its disagreement with the opinions

    of Mr. Webb’s treating physicians;

 (u) Lina’s termination of Mr. Webb’s LTD benefits failed to provide a

    detailed explanation and the basis of its disagreement with the disability

    determination by the Social Security Administration;

 (v) LINA failed to consider the Social Security Administration’s finding of

    disability in its evaluation, despite its obligation to consider such

    evidence, and instead diminished Mr. Webb’s approval for SSDI

    benefits while ignoring the evidence generated by the Social Security

    Administration in investigation of this claim;

 (w)      LINA wrongfully denied Mr. Webb’s LTD benefits in such other

    ways to be shown through discovery and/or hearing.


                                 20
        Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 21 of 23




      69.    As a result of the foregoing, the relief to which Mr. Webb is entitled

includes: (1) monthly LTD income benefits to Mr. Webb, (2) payment of back

benefits from September 19, 2018 to the date of judgment, (3) pre-judgment interest,

(4) equitable relief, including declaratory and injunctive relief, to redress LINA’s

practices that are violative of the Plan and ERISA, and to enforce the terms of the

Plan and ERISA, and (6) an award of attorney’s fees and costs pursuant to 29 U.S.C.

§ 1132(g).

                                  CAUSES OF ACTION

                                     COUNT ONE
                       ERISA (Claim for Benefits Owed under Plan)

      70.    Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      71.    At all times relevant to this action, Mr. Webb was a participant of the

Plan underwritten by LINA and issued to Consolidated Nuclear Security and was

eligible to receive disability benefits under the Plan.

      72.    As more fully described above, the termination and refusal to pay Mr.

Webb’s benefits under the Plan for the period from at least on or about September

19, 2018 through the present constitutes a breach of Defendant’s obligations under

the Plan and ERISA. The decision to deny benefits to Mr. Webb constitutes an abuse

of discretion as the decision was not reasonable and was not based on substantial

evidence.
                                           21
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 22 of 23




                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays the Court for the following:

      1.     A judgment ordering the applicable standard of review in this case is

de novo;

      2.     A judgment ordering that by a preponderance of the evidence, the

Defendant has breached its fiduciary duty to the Plaintiff by wrongfully denying his

LTD benefits owed to him through the Plan;

      3.     In the alternative, if the Court determines that the applicable standard

of review is the heightened arbitrary and capricious standard, the Court may take

and review the records of Defendant and any other evidence that it deems necessary

to conduct an adequate arbitrary and capricious review and enter a judgment that

Defendant’s decision to wrongfully deny Plaintiff’s LTD benefits was unreasonable,

arbitrary and capricious, and unsupported by substantial evidence;

      4.     Declaratory and injunctive relief, finding that Defendant violated the

terms of the Plan and Plaintiff’s rights thereunder by terminating Mr. Webb’s LTD

benefits; that Mr. Webb is entitled to a continuation of future LTD benefits from

Defendant pursuant to the Plan;

      5.     Declaratory and injunctive relief, finding that Defendant breached its

fiduciary duties to Plaintiff; enjoining Defendant from further violations of its

fiduciary duties; and directing Defendant to take all actions necessary to administer


                                         22
       Case 2:20-cv-01732-CLM Document 1 Filed 11/04/20 Page 23 of 23




the Plan in accordance with the terms and provisions thereof and Defendant’s

fiduciary and other obligations arising under ERISA;

      6.    A judgment ordering Defendant to pay Mr. Webb’s LTD benefits from

September 19, 2018 through the date judgment is entered herein, together with pre-

judgment interest on each and every such monthly payment through the date of

judgment;

      7.    An award of attorney’s fees and costs pursuant to 29 U.S.C. § 1132(g);

      8.    For such other and further relief as the Court deems just, fit and proper.

      Respectfully submitted this the 3rd day of November, 2020.



                                      /s/ Peter H. Burke____________
                                      Peter H. Burke (ASB-1992-K74P)
                                      pburke@burkeharvey.com
                                      BURKE HARVEY, LLC
                                      3535 Grandview Parkway, Suite 100
                                      Birmingham, Alabama 35243
                                      Phone: 205-930-9091
                                      Fax: 205-930-9054
                                      Attorney for Plaintiff Felicity Jones



      PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AT:

      Life Insurance Company of North America
      c/o CT Corporation System
      2 North Jackson Street
      Suite 605
      Montgomery, AL 36104


                                         23
